                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 1 of 28

bocarrasco47@outlook.com

From:               Bryce Carrasco
Sent:               Wednesday, December 30, 2020 10:13 PM
To:                 ir@mtb.com
Cc:                 asolice@mtb.com; sgraham1@mtb.com; jberchou@mtb.com; ckay@mtb.com
Subject:            Inaccurate Credit Card Information Submitted to Credit Reporting Agencies by M&T Bank
Attachments:        Annual Credit Report - Experian 12.30.2020.pdf; Bryce Carrasco Statement - December 2020.pdf;
                    Drew Solstice - Gmail - Pay Statements.pdf; EquifaxcreditReport_1609380752580.pdf; TransUnion
                    Credit Report v2.pdf


To whom in may concern,

I am reaching out to notify you that I have submitted a dispute regarding data provided by each of the 3 major credit
reporting agencies by M&T Bank regarding a revolving line of credit that I had opened in August 2020. I have attached
my statement dated 30 December 2020 and I formally request a written apology and retraction of the information that
was submitted, in bad faith, regarding my credit strength due to three missed payments on the newly opened credit
account.

Attached are the following documents which provide information as it relates to the nature of my dispute:
    1. Experian Credit Report, retrieved December 30, 2020.
    2. Transunion Credit Report, retrieved December 30, 2020.
    3. Equifax Credit Report, retrieved December 30, 2020.
    4. Printed copies of emails exchanged between myself and Drew Solstice, a full time employee of M&T Bank at the
       Baltimore Branch location on 1 Light Street. As evidence of the availability of my contact information which
       serves as further proof of the absence of commercially reasonable efforts made to address late payments on the
       revolving line of credit.
    5. A personal Statement which provides background of the situation and how the issue arose.

Thank you and I am available if you have questions. I look forward to prompt response from you to address the issues
and misrepresentative information transmitted on behalf of M&T Bank.

Bryce Carrasco
Cell Phone: 410‐858‐7432




                                                           1
                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 2 of 28

bocarrasco47@outlook.com

From:               Bryce Carrasco
Sent:               Thursday, December 31, 2020 1:25 PM
To:                 ir@mtb.com
Cc:                 asolice@mtb.com; sgraham1@mtb.com; jberchou@mtb.com; ckay@mtb.com
Subject:            Re: Inaccurate Credit Card Information Submitted to Credit Reporting Agencies by M&T Bank



I am reaching out to follow up regarding my previous email. Can you please confirm that you received
my email? Thank you.

From: Bryce Carrasco
Sent: Wednesday, December 30, 2020 7:13 PM
To: ir@mtb.com <ir@mtb.com>
Cc: asolice@mtb.com <asolice@mtb.com>; sgraham1@mtb.com <sgraham1@mtb.com>; jberchou@mtb.com
<jberchou@mtb.com>; ckay@mtb.com <ckay@mtb.com>
Subject: Inaccurate Credit Card Information Submitted to Credit Reporting Agencies by M&T Bank

To whom in may concern,

I am reaching out to notify you that I have submitted a dispute regarding data provided by each of the 3 major credit
reporting agencies by M&T Bank regarding a revolving line of credit that I had opened in August 2020. I have attached
my statement dated 30 December 2020 and I formally request a written apology and retraction of the information that
was submitted, in bad faith, regarding my credit strength due to three missed payments on the newly opened credit
account.

Attached are the following documents which provide information as it relates to the nature of my dispute:
    1. Experian Credit Report, retrieved December 30, 2020.
    2. Transunion Credit Report, retrieved December 30, 2020.
    3. Equifax Credit Report, retrieved December 30, 2020.
    4. Printed copies of emails exchanged between myself and Drew Solstice, a full time employee of M&T Bank at the
       Baltimore Branch location on 1 Light Street. As evidence of the availability of my contact information which
       serves as further proof of the absence of commercially reasonable efforts made to address late payments on the
       revolving line of credit.
    5. A personal Statement which provides background of the situation and how the issue arose.

Thank you and I am available if you have questions. I look forward to prompt response from you to address the issues
and misrepresentative information transmitted on behalf of M&T Bank.

Bryce Carrasco
Cell Phone: 410‐858‐7432




                                                           1
                 Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 3 of 28

bocarrasco47@outlook.com

From:                Giangrosso, Cindy <cgiangrosso@mtb.com> on behalf of Office of the President
                     <OfficeofthePresident@mtb.com>
Sent:                Thursday, December 31, 2020 1:49 PM
To:                  'bocarrasco47@outlook.com'
Subject:             Correspondence Acknowledgment Email

Importance:          High



Dear Valued Customer:

We’d like to confirm that we have received your correspondence on December 31, 2020, and are currently
researching your concerns with the appropriate area(s) of M&T.

Please know that we will respond to your concerns in writing, by sending you a secure e‐mail to this e‐mail
address. Additionally, as part of our research, we might need to contact you. Should you have any questions in
the meantime, feel free to reply to this e‐mail, officeofthepresident@mtb.com or call us at 716‐635‐4517.

Sincerely,

Voice of the Customer


This email may contain privileged and/or confidential information that is intended solely for the use of the addressee. If
you are not the intended recipient or entity, you are strictly prohibited from disclosing, copying, distributing or using any
of the information contained in the transmission. If you received this communication in error, please contact the sender
immediately and destroy the material in its entirety, whether electronic or hard copy. This communication may contain
nonpublic personal information about consumers subject to the restrictions of the Gramm‐Leach‐Bliley Act and the
Sarbanes‐Oxley Act. You may not directly or indirectly reuse or disclose such information for any purpose other than to
provide the services for which you are receiving the information. There are risks associated with the use of electronic
transmission. The sender of this information does not control the method of transmittal or service providers and
assumes no duty or obligation for the security, receipt, or third party interception of this transmission.




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                 Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 4 of 28

bocarrasco47@outlook.com

From:                Bryce Carrasco
Sent:                Monday, January 4, 2021 1:08 AM
To:                  Office of the President
Subject:             RE: Correspondence Acknowledgment Email


Thank you for the update. I am available to discuss over telephone if necessary. Bryce.

From: Giangrosso, Cindy <cgiangrosso@mtb.com> On Behalf Of Office of the President
Sent: Thursday, December 31, 2020 1:49 PM
To: 'bocarrasco47@outlook.com' <bocarrasco47@outlook.com>
Subject: Correspondence Acknowledgment Email
Importance: High

Dear Valued Customer:

We’d like to confirm that we have received your correspondence on December 31, 2020, and are currently
researching your concerns with the appropriate area(s) of M&T.

Please know that we will respond to your concerns in writing, by sending you a secure e‐mail to this e‐mail
address. Additionally, as part of our research, we might need to contact you. Should you have any questions in
the meantime, feel free to reply to this e‐mail, officeofthepresident@mtb.com or call us at 716‐635‐4517.

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                 Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 5 of 28

bocarrasco47@outlook.com

From:                Bryce Carrasco <bocarrasco47@outlook.com>
Sent:                Sunday, January 10, 2021 10:46 PM
To:                  Office of the President
Subject:             RE: Correspondence Acknowledgment Email


Hello,

I am reaching out regarding my credit account and request that you lift the minimum payment requirements until all
outstanding investigations are concluded and we have reached a mutual understanding regarding the credit agreement.
I am losing patience with the lack of transparency and misrepresentations made to all 3 credit reporting agencies.
According to my online account dashboard on M&T bank, I have a minimum payment due on the 13th of January for $60,
but I am unable to make payments from my checking account with BofA until the transfer is completed which I just
initiated. The transfer is for 356.08 and is scheduled for completion on January 14th. In anticipation for the hostile
actions from your automated collection system, I request that you suspend minimum payments immediately.

I could easily have opened an account with PNC and would not have to deal with these issues, and I would expect a
more timely response especially since M&T took the initiative to send all 3 credit reporting agencies inaccurate
information regarding my account. This is unacceptable customer service in my view and I hope to receive a response
within 24 hours.

Thank you,

Bryce Carrasco

From: Giangrosso, Cindy <cgiangrosso@mtb.com> On Behalf Of Office of the President
Sent: Thursday, December 31, 2020 1:49 PM
To: 'bocarrasco47@outlook.com' <bocarrasco47@outlook.com>
Subject: Correspondence Acknowledgment Email
Importance: High

Dear Valued Customer:

We’d like to confirm that we have received your correspondence on December 31, 2020, and are currently
researching your concerns with the appropriate area(s) of M&T.

Please know that we will respond to your concerns in writing, by sending you a secure e‐mail to this e‐mail
address. Additionally, as part of our research, we might need to contact you. Should you have any questions in
the meantime, feel free to reply to this e‐mail, officeofthepresident@mtb.com or call us at 716‐635‐4517.

Sincerely,

Voice of the Customer


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of the information contained in the transmission. If you received this communication in error, please contact the sender
                                                              1
                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 6 of 28
immediately and destroy the material in its entirety, whether electronic or hard copy. This communication may contain
nonpublic personal information about consumers subject to the restrictions of the Gramm‐Leach‐Bliley Act and the
Sarbanes‐Oxley Act. You may not directly or indirectly reuse or disclose such information for any purpose other than to
provide the services for which you are receiving the information. There are risks associated with the use of electronic
transmission. The sender of this information does not control the method of transmittal or service providers and
assumes no duty or obligation for the security, receipt, or third party interception of this transmission.




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                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 7 of 28

bocarrasco47@outlook.com

From:                Bryce Carrasco on behalf of bocarrasco47@outlook.com
Sent:                Sunday, January 31, 2021 1:29 AM
To:                  Office of the President
Subject:             More Evidence
Attachments:         View Account Details _ M&T Bank_31 January 2021.pdf; View Account Details _ M&T Bank_31
                     January 2021 (Account Info).pdf; Annual Credit Report - Experian-31 January 2021.pdf; TransUnion
                     Credit Report-31 January 2021.pdf; Equifax creditReport_31 January 2021.pdf


See attached credit reports showing that you have neglected your responsibility pursuant to the FCRA. I will file civil
action if I do not hear from you.

Bryce Carrasco
Cell: 410‐858‐7432
Email: bocarrasco47@outlook.com




                                                             1
                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 8 of 28

bocarrasco47@outlook.com

From:                Bryce Carrasco
Sent:                Monday, February 1, 2021 9:00 PM
To:                  Office of the President; ckay@mtb.com; sgraham1@mtb.com
Cc:                  CFPBOmbudsman@cfpb.gov; whistleblower@cfpb.gov; secretary@ftc.gov;
                     consumer@oag.state.md.us; oag@oag.state.md.us
Subject:             FW: More Evidence
Attachments:         View Account Details _ M&T Bank_31 January 2021.pdf; View Account Details _ M&T Bank_31
                     January 2021 (Account Info).pdf; Annual Credit Report - Experian-31 January 2021.pdf; TransUnion
                     Credit Report-31 January 2021.pdf; Equifax creditReport_31 January 2021.pdf


I am cc’ing the Consumer Financial Protection Bureau, Maryland Attorney General and FTC to make sure they are aware
of M&T’s conduct. I will also be providing them with each of the eight letters sent between September 17 and December
8, 2020 (my account was opened in August 2020) from M&T/Wilmington Trust demanding payments and charging
excessive fees; in addition to exposing the practice of using deceptive advertising for new credit card applications under
the aegis of a “12‐month 0% APR period.” Below is the complaint filed with the CFPB for reference. Regards.




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                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 9 of 28




From: Bryce Carrasco
Sent: Sunday, January 31, 2021 1:29 AM
To: Office of the President <OfficeofthePresident@mtb.com>
Subject: More Evidence

See attached credit reports showing that you have neglected your responsibility pursuant to the FCRA. I will file civil
action if I do not hear from you.

Bryce Carrasco
Cell: 410‐858‐7432

                                                             2
                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 10 of 28

bocarrasco47@outlook.com

From:                Bryce Carrasco
Sent:                Monday, February 1, 2021 9:26 PM
To:                  CFPBOmbudsman@cfpb.gov; whistleblower@cfpb.gov; consumer@oag.state.md.us;
                     oag@oag.state.md.us
Cc:                  Office of the President; ckay@mtb.com; sgraham1@mtb.com
Subject:             RE: More Evidence
Attachments:         M&Tbank Letter #1 (4 Sept 2020).pdf; MTB Letter #2 (18 Sept 2020).pdf; MTB Letter #4 (16 Oct
                     2020).pdf; MTB Letter #5 (5 November 2020).pdf; MTB Letter #6 (16 November 2020).pdf; MTB Letter
                     #7 ( 1 Dec 2020).pdf; MTB Letter#3 (25 Sept 2020).pdf


Attached are the eight letters I received from M&T within the first four months of a 12‐month 0% APR introductory
period. The effective date for the revolving line of credit was August 3, 2020. I received a letter (the first of 8 letters)
dated 4 September 2020 notifying me of changes to terms of my savings account. I believe this was related to litigation
which found M&T was charging excessive fees for consumer accounts. The next seven letters I received demanded
payment on the credit account I had opened in August 2020. I never received an email or phone call from M&T
regarding the account and when I asked the branch manager for documentation when I opened the account I was told
that there was no documentation for consumer credit cards. Nevertheless, M&T proceeded to demand minimum
payments and reported my delinquency to each of the three major CRAs prior to December 18, 2020. It was also
reported that my account was closed at the credit grantor’s request, which is inaccurate since my account was never
closed. My credit report still shows this despite disputing the information multiple times with each CRA, which suggests
that M&T willfully neglected to correct inaccurate/misleading information they furnished to all three CRAs. This resulted
in my FICO score dropping to 565 which prevents me from obtaining credit and could effect future employment
background checks. I reached out to M&T Bank multiple times and received an email from the Office of the President on
December 31, 2020 which confirmed that an investigation was in process regarding my dispute. I have not heard back
since then, but my credit report still shows the adverse information and my FICO is still 565, which translates to “very
poor” in terms of my credit worthiness. M&T has not fulfilled its duty as a furnisher of information in accordance with
the FCRA as amended, and thus has violated federal statute under the U.S. Code.

Thank you.

From: Bryce Carrasco
Sent: Monday, February 1, 2021 9:00 PM
To: Office of the President <OfficeofthePresident@mtb.com>; ckay@mtb.com; sgraham1@mtb.com
Cc: CFPBOmbudsman@cfpb.gov; whistleblower@cfpb.gov; secretary@ftc.gov; consumer@oag.state.md.us;
oag@oag.state.md.us
Subject: FW: More Evidence

I am cc’ing the Consumer Financial Protection Bureau, Maryland Attorney General and FTC to make sure they are aware
of M&T’s conduct. I will also be providing them with each of the eight letters sent between September 17 and December
8, 2020 (my account was opened in August 2020) from M&T/Wilmington Trust demanding payments and charging
excessive fees; in addition to exposing the practice of using deceptive advertising for new credit card applications under
the aegis of a “12‐month 0% APR period.” Below is the complaint filed with the CFPB for reference. Regards.




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                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 11 of 28




From: Bryce Carrasco
Sent: Sunday, January 31, 2021 1:29 AM
To: Office of the President <OfficeofthePresident@mtb.com>
Subject: More Evidence

See attached credit reports showing that you have neglected your responsibility pursuant to the FCRA. I will file civil
action if I do not hear from you.

Bryce Carrasco
Cell: 410‐858‐7432

                                                             2
                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 12 of 28

bocarrasco47@outlook.com

From:                Janker, Caitlin <cjanker@mtb.com> on behalf of Office of the President
                     <OfficeofthePresident@mtb.com>
Sent:                Tuesday, February 2, 2021 11:19 AM
To:                  bocarrasco47@outlook.com
Subject:             Correspondence Acknowledgement Email


Dear Valued Customer,

We’d like to confirm that we have received your correspondence on February 1, 2021, via the CFPB portal, and are
currently researching your concerns with the appropriate area(s) of M&T.

Please know that we will respond to your concerns in writing by submitting our response directly to the CFPB
portal. Additionally, as part of our research, we might need to contact you. Should you have any questions in the
meantime, feel free to reply to this e‐mail, OfficeofthePresident@mtb.com or call us at 716‐635‐4520.

Sincerely,

Voice of the Customer


This email may contain privileged and/or confidential information that is intended solely for the use of the addressee. If
you are not the intended recipient or entity, you are strictly prohibited from disclosing, copying, distributing or using any
of the information contained in the transmission. If you received this communication in error, please contact the sender
immediately and destroy the material in its entirety, whether electronic or hard copy. This communication may contain
nonpublic personal information about consumers subject to the restrictions of the Gramm‐Leach‐Bliley Act and the
Sarbanes‐Oxley Act. You may not directly or indirectly reuse or disclose such information for any purpose other than to
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transmission. The sender of this information does not control the method of transmittal or service providers and
assumes no duty or obligation for the security, receipt, or third party interception of this transmission.




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               Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 13 of 28

bocarrasco47@outlook.com

From:               Bryce Carrasco
Sent:               Friday, February 5, 2021 8:01 PM
To:                 CFPBOmbudsman@cfpb.gov; whistleblower@cfpb.gov; consumer@oag.state.md.us;
                    oag@oag.state.md.us
Cc:                 Office of the President; ckay@mtb.com; sgraham1@mtb.com
Subject:            RE: More Evidence
Attachments:        View Account Details _ M&T Bank_31 January 2021.pdf; Experian Dispute Results - 14 January
                    2021.pdf; Response Letter - Bryce Carrasco - 5 February 2021.pdf; Annual Credit Report - Experian-31
                    January 2021.pdf; Statement - January 2021 - Dated 16 January 2021.pdf


Following up on this, attached is:
     1. Experian Credit Report Dated 31 January 2021
     2. Experian Dispute Results Printed Report – Dated 14 January 2021
     3. M&T Account Details Dated 31 January 2021
     4. M&T Dispute Response Letter – Dated February 5 2021
M&T does not address relevant factual information in its response sent to me earlier today (#4 from the list above). The
attached is specific evidence showing that M&T verified inaccurate information to Experian and did not conduct
reasonable investigation into disputed information.

See below:




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               Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 14 of 28
This is false and I have specific evidence which shows this. My account was not closed as of Jan 2021 and my account
was in good standing as of Jan 2021.




Yet, I was charged a late fee on January 16, 2020. Despite this confirmation that the payment had been received on
time.




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                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 15 of 28




M&T is clearly acting illegally and breaking federal law. Please help me as this company is causing significant harm and is
ruining my credit unlawfully.

From: Bryce Carrasco
Sent: Monday, February 1, 2021 9:26 PM
To: CFPBOmbudsman@cfpb.gov; whistleblower@cfpb.gov; consumer@oag.state.md.us; oag@oag.state.md.us
Cc: Office of the President <OfficeofthePresident@mtb.com>; ckay@mtb.com; sgraham1@mtb.com
Subject: RE: More Evidence

Attached are the eight letters I received from M&T within the first four months of a 12‐month 0% APR introductory
period. The effective date for the revolving line of credit was August 3, 2020. I received a letter (the first of 8 letters)
dated 4 September 2020 notifying me of changes to terms of my savings account. I believe this was related to litigation
which found M&T was charging excessive fees for consumer accounts. The next seven letters I received demanded
payment on the credit account I had opened in August 2020. I never received an email or phone call from M&T
regarding the account and when I asked the branch manager for documentation when I opened the account I was told
that there was no documentation for consumer credit cards. Nevertheless, M&T proceeded to demand minimum
payments and reported my delinquency to each of the three major CRAs prior to December 18, 2020. It was also
reported that my account was closed at the credit grantor’s request, which is inaccurate since my account was never
closed. My credit report still shows this despite disputing the information multiple times with each CRA, which suggests
                                                              3
               Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 16 of 28
that M&T willfully neglected to correct inaccurate/misleading information they furnished to all three CRAs. This resulted
in my FICO score dropping to 565 which prevents me from obtaining credit and could effect future employment
background checks. I reached out to M&T Bank multiple times and received an email from the Office of the President on
December 31, 2020 which confirmed that an investigation was in process regarding my dispute. I have not heard back
since then, but my credit report still shows the adverse information and my FICO is still 565, which translates to “very
poor” in terms of my credit worthiness. M&T has not fulfilled its duty as a furnisher of information in accordance with
the FCRA as amended, and thus has violated federal statute under the U.S. Code.

Thank you.

From: Bryce Carrasco
Sent: Monday, February 1, 2021 9:00 PM
To: Office of the President <OfficeofthePresident@mtb.com>; ckay@mtb.com; sgraham1@mtb.com
Cc: CFPBOmbudsman@cfpb.gov; whistleblower@cfpb.gov; secretary@ftc.gov; consumer@oag.state.md.us;
oag@oag.state.md.us
Subject: FW: More Evidence

I am cc’ing the Consumer Financial Protection Bureau, Maryland Attorney General and FTC to make sure they are aware
of M&T’s conduct. I will also be providing them with each of the eight letters sent between September 17 and December
8, 2020 (my account was opened in August 2020) from M&T/Wilmington Trust demanding payments and charging
excessive fees; in addition to exposing the practice of using deceptive advertising for new credit card applications under
the aegis of a “12‐month 0% APR period.” Below is the complaint filed with the CFPB for reference. Regards.




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                Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 17 of 28




From: Bryce Carrasco
Sent: Sunday, January 31, 2021 1:29 AM
To: Office of the President <OfficeofthePresident@mtb.com>
Subject: More Evidence

See attached credit reports showing that you have neglected your responsibility pursuant to the FCRA. I will file civil
action if I do not hear from you.

Bryce Carrasco
Cell: 410‐858‐7432

                                                             5
                 Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 18 of 28

bocarrasco47@outlook.com

From:                     Janker, Caitlin <cjanker@mtb.com> on behalf of Office of the President
                          <OfficeofthePresident@mtb.com>
Sent:                     Monday, February 8, 2021 9:59 AM
To:                       bocarrasco47@outlook.com
Subject:                  Correspondence Acknowledgment Email


Dear Mr. Carrasco:

We’d like to confirm that we have received your correspondence to this email, by phone, and directly to Mr. Christopher Kay at
M&T’s Executive Offices via email and LinkedIn, and are currently researching your concerns with the appropriate area(s) of M&T.

Please know that we will respond to your concerns in writing. Should you have any questions in the meantime, feel free to reply to
this e‐mail, OfficeofthePresident@mtb.com or call us at 716‐635‐4520.

Sincerely,

Office of the President


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provide the services for which you are receiving the information. There are risks associated with the use of electronic
transmission. The sender of this information does not control the method of transmittal or service providers and
assumes no duty or obligation for the security, receipt, or third party interception of this transmission.




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               Case 1:21-cv-00532-SAG Document 85-9 Filed 07/26/21 Page 19 of 28

bocarrasco47@outlook.com

From:                Bryce Carrasco
Sent:                Thursday, February 11, 2021 3:26 PM
To:                  Office of the President
Cc:                  Janker, Caitlin; ckay@mtb.com
Subject:             FCRA
Attachments:         saunders_v._branch_banking_and_trust.pdf


I have not heard back from you regarding the derogatory information which remains on my credit report, which was
furnished by M&T. Now, it is established that M&T is the furnisher of derogatory information, therefore, it takes on
specific duties to maintain compliance pursuant to § 1681s‐2(b) of the Fair Credit Reporting Act (FCRA).

I am writing to ensure you are aware that there is a meritorious case that M&T has willfully violated provisions of the
FCRA, and each day that my credit score is adversely affected by information provided by M&T is support for the willful
violation argument. Attached is a strong legal precedent to build the framework for my case, which I intend to do if
necessary.

Below is an excerpt from Saunders v. Branch Banking and Trust Co. of Va., 526 F.3d 142 (4th Cir. 2008):

                We consider first the relevant legal principles governing this FCRAclaim and then the
             arguments offered by BB&T.

                                                           A.

                "Congress enacted FCRA in 1970 to ensure fair and accurate credit reporting, promote
             efficiency in the banking system, and protect consumer privacy." Safeco Ins. Co. of Am. v.
             Burr, 127 S. Ct. 2201, 2205-06 (2007) (citing 84 Stat. 1128, 15 U.S.C. § 1681). To this end,
             FCRA requires CRAs to follow procedures in reporting consumer credit information that
             both "meet[ ] the needs of commerce" and are "fair and equitable to the consumer." 15
             U.S.C.A. § 1681(b).

                In addition to the duties it imposes on CRAs, FCRA also imposes duties on "furnishers of
             information." § 1681s-2. Under § 1681s-2(a), FCRA prohibits any person from furnishing
             information to a CRA that the person knows is inaccurate. Additionally, any person who
             "regularly and in the ordinary course of business furnishes information to one or more
             consumer reporting agencies" must correct and update the information provided so that it is
             "complete and accurate."
             § 1681s-2(a)(2).

                At issue in this appeal are the additional duties a furnisher incurs under § 1681s-2(b) if a
             consumer disputes the accuracy of information that the furnisher reports. If a consumer
             notifies a CRA that he disputes the accuracy of an item in his file, FCRA requires the CRA
             to notify the furnisher of the dispute. § 1681i(a)(2). Upon receipt of this notice, a furnisher
             must:

                  (A)   conduct an investigation with respect to the disputed information;

                  (B) review all relevant information provided by the consumer reporting agency
                  pursuant to section 1681i(a)(2) of this title;




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                 (C) report the results of the investigation to the consumer reporting agency; [and]

                  (D) if the investigation finds that the information is incomplete or inaccurate,
                  report those results to all other consumer reporting agencies to which the person
                  furnished the information and that compile and maintain files on consumers ona
                  nationwide basis . . . .

             § 1681s-2(b)(1).

                Thus, FCRA requires furnishers to determine whether the information that they previously
             reported to a CRA is "incomplete or inaccurate." § 1681s-2(b)(1)(D) (emphasis added). In so
             mandating, Congress clearly intended furnishers to review reports not only for inaccuracies
             in the information reported but also for omissions that render the reported information
             misleading. Courts have held that a credit report is not accurate under FCRA if it provides
             information in such a manner as to create a materially misleading impression. See, e.g.,
             Dalton v. Capital Associated Indus., Inc., 257 F.3d 409, 415 (4th Cir. 2001); see also
             Koropoulos v. Credit Bureau, Inc., 734 F.2d 37, 40-42 (D.C. Cir. 1984) (reasoning that
             incomplete reporting can violate FCRA when it is "misleading"); Alexander v. Moore &
             Assocs., Inc., 553 F. Supp. 948, 952 (D. Haw. 1982).3

                Of particular relevance here, in Dalton we addressed the duty of a CRA to report accurately
             pursuant to § 1681e. 257 F.3d at 415. We held that a report "is inaccurate" not only "when it
             is ‘patently incorrect’" but also "when it is ‘misleading in such a way and to such an extent
             that it can be expected to [have an] adverse[ ]’ effect." Id. (quoting Sepulvado v. CSC Credit
             Servs., 158 F.3d 890, 895 (5th Cir. 1998)). Thus, we held that a consumer report that contains
             technically accurate information may be deemed "inaccurate" if the statement is presented in
             such a way that it creates a misleading impression. Seeid. at 415-16. The Fifth Circuit
             reached a similar conclusion, affirming a jury verdict finding a CRA’s report inaccurate when
             the report described an account as "[l]itigation [p]ending," because the report omitted the fact
             that the consumer, as opposed to the creditor/furnisher, had brought suit. See Pinner v.
             Schmidt, 805 F.2d 1258, 1262-63 (5th Cir. 1986).

                Finally, FCRA imposes civil liability on "[a]ny person" violating duties under the Act. §§
             1681n(a); 1681o(a). A consumer may recover compensatory damages or statutory damages
             of not more than $1,000,punitive damages, and attorneys fees from any person who "willfully
             fails to comply" with the requirements of the Act. § 1681n. Only compensatory damages and
             attorneys fees are available for negligent violations of the Act. § 1681o. FCRA explicitly bars
             private suits for violations of § 1681s-2(a), but consumers can still bring private suits for
             violations of § 1681s-2(b). See § 1681s-2(c); see also Johnson v. MBNA Am. Bank, NA, 357
             F.3d 426, 431-32 (4th Cir. 2004) (affirming jury verdict in consumer suit for violation of
             § 1681s-2(b)).

                With these principles in mind, we turn to the arguments in the case at hand.


Please forward this to your legal team so they are aware of how I am planning to build my case. I am happy to speak
with your legal department to discuss the merits of potential litigation. Once again, I do not prefer this as I would rather
the issue be resolved by M&T, and I am willing to sign a formal agreement or out of court settlement with a pledge that I
will not pursue legal action if certain actions are taken by M&T to resolve the issue at hand.


Thank you for your consideration.

Bryce Carrasco
Cell: 410‐858‐7432
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bocarrasco47@outlook.com

From:               Bryce Carrasco
Sent:               Friday, February 19, 2021 6:36 PM
To:                 ckay@mtb.com
Cc:                 Janker, Caitlin; Office of the President
Subject:            Failure to disclose dispute


I just finished phone calls with all three reporting bureau’s to see if they had received disclosure from M&T Bank that I
am disputing the facts surrounding the information you have furnished. All 3 reporting agencies confirmed that you have
not made any disclosure and I recorded all three conversations for the record to support my civil cause of action against
Chris Kay and M&T Bank. Your inaction in making the required disclosures under federal law will be used against you in
the court of law.

Regards,

Bryce Carrasco
Cell: 410‐858‐7432
Email: bocarrasco47@outlook.com




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bocarrasco47@outlook.com

From:                Bryce Carrasco
Sent:                Friday, February 19, 2021 6:45 AM
To:                  Office of the President
Subject:             Re: Correspondence Response Email


I expect a response in short order. From where I am standing, I don’t see a possible logic to playing hardball anymore.
Your disclosures and customer service during an unprecedented pandemic are utterly reprehensible and embarrassing.
It’s bad business and i would have a hard time sleeping at night if I were preying on consumers like Mr. Kay does with his
clear attitude of nonchalance and avoidance of any responsibility. I am calling you out Chris for not having the strength
to speak with me directly. If you run the consumer credit business, this is squarely on you. It’s unethical and desperate.
The debt obligation is valid, but the notion that I was bona fide delinquent is a joke. I never even used the credit card as
you will see if you even cared to look. I bet you can’t even find my account application because your internal records are
such a train wreck ‐ it’s clear you are a running a boiler room call center and using predatory techniques to take
advantage of consumers. I see you for what you are and it’s a disgrace. I will probably take this to court regardless of
what you choose to do. If you had an ounce of dignity or pride in yourself you would call each credit agency and say
what you previously reported was bogus and without any basis. You are mandated by federal law to tell them I am
disputing the delinquency, but it looks like you are pretty comfortable breaking the law. You are a morally bankrupt
chop shop unable to compete for legitimate market share

Bryce Carrasco
Mobile: (410) 858‐7432
Email: bocarrasco47@outlook.com

From: Bryce Carrasco
Sent: Thursday, February 18, 2021 5:24:05 PM
To: Office of the President <OfficeofthePresident@mtb.com>
Subject: RE: Correspondence Response Email

“M&T also placed phone calls to the telephone number provided by you when your account became delinquent.”

This statement is patently false. I provided my cell phone number 410‐858‐7432 and this will be on file at the Baltimore
office, and I will request to have this subpoenaed during discovery.

From: Janker, Caitlin <cjanker@mtb.com> On Behalf Of Office of the President
Sent: Thursday, February 18, 2021 4:19 PM
To: bocarrasco47@outlook.com
Subject: Correspondence Response Email




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bocarrasco47@outlook.com

From:                  Bryce Carrasco
Sent:                  Friday, February 19, 2021 1:23 PM
To:                    Office of the President
Subject:               RE: Correspondence Response Email


I hereby demand that you disclose that I am actively disputing the delinquencies reported to all three credit agencies. I
request this to be done by the end of business as it should have been done when I disputed the information over 30
days ago. Not disclosing that a consumer has initiated a dispute regarding information you furnished is a direct and
explicit violation of federal law.

From: Janker, Caitlin <cjanker@mtb.com> On Behalf Of Office of the President
Sent: Thursday, February 18, 2021 4:19 PM
To: bocarrasco47@outlook.com
Subject: Correspondence Response Email




      **Secure Email Notice**

      Account re‐registration will be required due to a recent upgrade
      enhancement to our Email Encryption system.

      An M&T Bank employee has sent you a secure email message that
      contains confidential information. The sender’s email address is
      listed in the "from" field of this message. If you have any concerns
      about the validity of this message, please contact the sender
      directly, or your M&T Relationship Manager.

      To retrieve your secure message, you will need to access our
      secure, encrypted email delivery system:

      Existing Users

      1. Select the "Click Here" link below

      2. Enter your password*

      New Users

      1. Select the "Click Here" link below



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bocarrasco47@outlook.com

From:                  Bryce Carrasco
Sent:                  Tuesday, February 23, 2021 5:31 PM
To:                    Office of the President
Subject:               RE: Correspondence Response Email


There is no need to respond to my emails, they were not a request for additional correspondence. I would prefer if no
further communications took place between myself and M&T regarding this matter outside of the court. Thank you and I
consider this matter “unresolved after exercising all out‐of‐court options to try to settle a dispute” so there is no need to
respond to my correspondence effective immediately.

From: Janker, Caitlin <cjanker@mtb.com> On Behalf Of Office of the President
Sent: Tuesday, February 23, 2021 4:09 PM
To: bocarrasco47@outlook.com
Subject: Correspondence Response Email




      **Secure Email Notice**

      Account re‐registration will be required due to a recent upgrade
      enhancement to our Email Encryption system.

      An M&T Bank employee has sent you a secure email message that
      contains confidential information. The sender’s email address is
      listed in the "from" field of this message. If you have any concerns
      about the validity of this message, please contact the sender
      directly, or your M&T Relationship Manager.

      To retrieve your secure message, you will need to access our
      secure, encrypted email delivery system:

      Existing Users

      1. Select the "Click Here" link below

      2. Enter your password*

      New Users

      1. Select the "Click Here" link below



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